Case 2:06-cr-20415-RHC-VMM ECF No. 178, PageID.4812 Filed 01/19/12 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                   Case No. 2:06-cr-20415

 BRIAN W. LAMBKA,

              Defendant.
                                               /

        ORDER DENYING MOTION TO TERMINATE SUPERVISED RELEASE

       On August 14, 2008, Defendant was sentenced, pursuant to a guilty plea, to a

 term of eighteen months imprisonment, to be followed by three years of supervised

 release. Defendant has since served his custodial sentence and completed almost two

 years of his supervised release. In the instant motion, Defendant requests that the

 court terminate the remainder of his supervised release. Because the court does not

 find such a termination warranted under 18 U.S.C. § 3583(e)(1), the court will deny

 Defendant’s motion.

       Under § 3583(e)(1), the court has discretion to terminate a criminal defendant’s

 term of supervised release if the defendant has completed at least one year of

 supervised release and the court “is satisfied that such action is warranted by the

 conduct of the defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1).

 In determining whether a termination is warranted, the court must also consider the

 sentencing factors listed in 18 U.S.C. § 3553(a), including the need for a defendant’s
Case 2:06-cr-20415-RHC-VMM ECF No. 178, PageID.4813 Filed 01/19/12 Page 2 of 3




 sentence “to reflect the seriousness of the offense . . . and to provide just punishment

 for the offense.” Id. § 3553(a)(2)(A).

        In his motion, Defendant advances several circumstances that he believes

 warrant the early termination of his supervised release. First, he cites the fifty hours of

 volunteer work he has voluntarily logged since his release from incarceration. Second,

 Defendant notes that, since his release, he has been steadily employed, allowing him to

 continue making payments to the IRS pursuant to his court-ordered restitution. Third,

 he emphasizes that, due to a stroke he suffered prior to his incarceration, he continues

 to have cognitive difficulties and trouble communicating. Finally, Defendant reports that

 his two sons, who are members of the Armed Forces, are soon scheduled to deploy

 overseas, and he wishes to have the freedom to travel out of the country and visit them

 without first having to seek permission from the court.

        The court has carefully considered Defendant’s motion under the standard set

 forth in § 3583(e)(1) and the factors listed in § 3553(a). The court approves, of course,

 of Defendant’s charitable works and current employment, and notes the other factors he

 advances, but finds that an early termination of his supervised release would not be

 appropriate. The scope of the criminality in this case is almost beyond calculation.

 Defendant assisted in perpetrating a sophisticated, complex scheme to defraud the IRS

 of more than $50,000,000 in payroll taxes. In addition, thousands of individual

 employees of Defendant’s firm found their retirement plans measurably diminished,

 even destroyed. As of December 8, 2011, Defendant had repaid only $1,700.00 in

 restitution. In light of the seriousness of Defendant’s offense and the need for just



                                              2
Case 2:06-cr-20415-RHC-VMM ECF No. 178, PageID.4814 Filed 01/19/12 Page 3 of 3




 punishment, as well as his continuing and substantial restitution obligation, termination

 of his supervised release would not serve the interests of justice. Accordingly,

          IT IS ORDERED that Defendant’s motion to terminate supervised release [Dkt.

 # 174] is DENIED.


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

 Dated: January 19, 2012


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, January 19, 2012, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




 S:\Cleland\JUDGE'S DESK\C2 ORDERS\06-20415.LAMBKA.DenMotTermSupRelease.ar.set.2.wpd


                                                              3
